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  Declaration of Mich P. Gonzalez

  I, Mich P. Gonzalez, make the following declaration based on my personal knowledge and
declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the following is true and
correct:

   1. My name is Mich P. Gonzalez and I am an immigration and civil rights attorney licensed

       to practice by the State of New York. I am a co-founding partner of Sanctuary of the South,

       LLC and our business address is 251 Valencia Avenue, Ste. 140, Coral Gables, FL 33134.

   2. On February 20, 2025, an Immigration Judge (“IJ”) sitting in the Immigration Court at the

       Krome Service Processing Center (“Krome”) in Miami, Florida granted my client

       protection in the form of withholding of removal to Guatemala due to severe past

       persecution and threat of future persecution on account of her identity as a transgender

       woman and sexual minority. On this same date, our office contacted the relevant

       Department of Homeland Security (“DHS”) Enforcement and Removal Operations

       (“ERO”) officers overseeing her custody at the Krome facility to urge her release, attaching

       the IJ’s order.

   3. On February 24, 2025, DHS Supervisory Detention and Deportation Officer Jahmal Ervin

       (“SDDO Ervin”) responded via electronic correspondence stating, “[y]our client is not

       being released at this time as his case is still being processed for removal efforts.”

   4. Our office immediately replied requesting the names of the country or countries to which

       DHS was seeking to remove our client.

   5. Neither Officer Jahmal Ervin, nor the Miami ERO Acting Field Office Director nor the

       Acting Krome Assistant Field Office Director (collectively “ICE”) ever responded

       substantively to this request.




                                                                                        EXHIBIT M
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6. Concerned about ICE’s stated intention to remove our client and refusal to provide the

   names of any third country to which they were seeking removal, we filed a motion to

   reopen removal proceedings with the sitting IJ at Krome who had granted withholding on

   February 20, 2025. We filed the motion to reopen on February 25, 2025 and on March 1,

   2025, the IJ denied on the grounds that it was premature as Respondent was not seeking

   protection from removal to any particular country. Please see attached order.

7. Our office followed up over a dozen times in the weeks that followed with emails to ICE

   seeking answers to ensure due process for our client. We informed ICE of the ongoing

   danger to our client by remaining in detention due to her status as a transgender woman

   and repeatedly requested information regarding ICE’s intentions to remove her to a third

   country. These emails received no substantive response.

8. On or about March 24, 2025, our client informed us that the risks to her safety became a

   reality when she was sexually assaulted in the showers at Krome–an assault reportedly

   witnessed by officers at Krome in or about mid-March 2025.

9. We again contacted ICE, informing them of this assault and requesting information about

   ICE’s investigation and responsibilities under the Prison Rape Elimination Act. We have

   yet to receive any substantive response to these requests.

10. On or about March 29, 2025, our client disappeared from Krome and could not be found

   on the ICE Locator for nearly three days. We again contacted ICE, requesting information

   as to our client’s whereabouts. Again, these emails were ignored until finally her assigned

   deportation officer Kristy Zamir wrote back simply stating that “[client’s name and

   immigration number] is located at Eloy, AZ, Service Processing Center.”
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     11. We were finally able to make contact with our client, who confirmed that she had

         inexplicably been transferred to the Eloy Service Processing Center (“Eloy”) in Arizona.

         She also informed us that she was not provided any information about her transfer or any

         attempts ICE is making to remove her to a third country.

     12. We contacted ICE once again, by email, requesting they please confirm the reason for her

         transfer and whether ICE was attempting to deport her to a third country. This information,

         once again, was not provided.

     13. As of today, our client allegedly remains at Eloy. However, she is no longer reflected in

         the ICE detainee locator website and we fear for her imminent and unlawful deportation to

         a third country without notice or opportunity to present arguments that such deportation

         places her at risk.



I affirm under penalty of perjury that the aforementioned is true and correct to the best of my

knowledge.


 Dated: April 3, 2025




 Mich P. Gonzalez, Esq.
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                            UNITED STATES DEPARTMENT OF JUSTICE
                          EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                              MIAMI KROME IMMIGRATION COURT

Respondent Name:                                        A-Number:

                                                        Riders:
To:
                                                        In Withholding Only Proceedings
      Blankenship, Katherine Holloway                   Initiated by the Department of Homeland Security
      6355 NW 36th Street                               Date:
      Suit 609                                          03/01/2025
      Virginia Gardens, FL 33166



                          ORDER OF THE IMMIGRATION JUDGE


       Respondent's Motion to Reopen



      Order:
       The motion to reopen is denied as premature. At this time, Respondent is not seeking protection
       from removal to any particular country.
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                                                Immigration Judge: LERNER, ROMY 03/01/2025
Appeal:      Department of Homeland Security: ✓     waived          reserved
             Respondent:                            waived      ✓   reserved
Appeal Due:04/02/2025


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Respondent Name :                                    | A-Number :
Riders:
Date: 03/02/2025 By: Murgado, Letty, Court Staff
